IN THE FEDERAL DISTRICT OF GUAM CIVIL ACTION #                                                   Cy
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Plaintiff: Clifford "RAY" Hackett, individually and for all.DEFENDANT: Red Guahan bus 117 Guerro
COMPLAINT: The plaintiffs, Clifford "RAY" Hackett, appearing pro se, states:
JURISDICTION                                                                                      El         P O
1. This Court has subject matter jurisdiction under 28 U.S.C. sections 1331 and 1343.        DISTRICT COURT OF GUAM
2. This action is commenced pursuant to 2201 and 2202 and 42 U.S.C, section 1983.                                   y^/
GENERAL ALLEGATIONS                                                                                    MN 08 2016
3. The plaintiff is a citizen of the United States of America.                                   ._.
                                                                                                 JEANNE G. QUINATA
4. Defendant owns a commercial business worldwide                                                 CLERK OF COURT
5. Plaintiffs are individuals with disabilities. Defendant's business blocks disabled persons.
6. On July 26, 1990, Congress enacted the ADA, 42 U.S.C. section 12101, etseq.
7. The Congressional findings include: "discrimination persists "42 U.S.C. section 12101(a).
8. Congress says ADA is to: mandate "standards" 42 U.S.C. section 12101(b).
9. Congress gave time to implement the Act. The effective date was January 26, 1992.
10. Defendant's business has barriers that prevents disabled persons. See Exhibit "A".
11. ADA Title III, covers "Public Accommodations and Services." 42 U.S.C. section 12181.
12. Congress included businesses as public accommodations. 42 U.S.C. section 12181.
13. Defendant's business is a public accommodation discriminating by not removing barriers
14 The barrier removal is."readily achievable" 42 U.S.C section 12182(b)(2)(A)(iv).
15. Readily achievable includes "whatever is needed" 28 C.F.R.. section 36.304(a) - (c).
16. Similar businesses have made similar modifications, but defendant chose not to comply.
17. In Section 44 and 190 of the IRS Code, a small business gets a tax credit of 50% of the barrier removal cost up to
$10,500 yearly. Big businesses get up to $15,000 yearly.
18. Plaintiffs want to use the defendant's business.


FIRST CLAIM OF RELIEF

19. Pursuant to the ADA, 42 U.S.C. section 12101, et seq., and law pursuant to this Act, 28 C.F.R. §36.304, defendant
was to make fixes by January 26, 1992. To date, defendant has not.
20. By failing to make fixes that are readily achievable, defendant violates the ADA.


WHEREFORE, the plaintiffs pray that the Court order the defendant to remove barriers and that the Court award
plaintiffs such relief as may be just, proper, and equitable, including costs.
NAME:Clifford "RAY" Hackett, 671.967.0357 I HEREBY CERTIFY that a true copy of the foregoing was sent to the othe


party the same day it was sent to this court
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